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                                                                      1225 W. 190th Street, Suite 420
                                                                 4    Gardena, CA 90248
                                                                      Telephone: (310) 769-6836
                                                                 5

                                                                 6    Attorneys for Plaintiff Luke Y. Kim
                                                                 7

                                                                 8
                                                                                           UNITED STATES DISTRICT COURT
                                                                 9
                                                                                         CENTRAL DISTRICT OF CALIFORNIA
                                                                10

                                                                11
LAW OFFICES OF ALBERT CHANG




                                                                12    LUKE Y. KIM, an individual                ) Case No.
                              1225 W. 190th Street, Suite 420




                                                                                                                )
                                Gardena, California 90248




                                                                13                 Plaintiff,                   )
                                                                                                                )
                                     (310) 769-6836




                                                                14          vs.                                 ) COMPLAINT FOR:
                                                                                                                )
                                                                15
                                                                                                                )
                                                                      SHEIN DISTRIBUTION                        ) 1. COPYRIGHT INFRINGEMENT;
                                                                16
                                                                                                                ) 2. VICARIOUS AND/OR
                                                                      CORPORATION, a Delaware                   )
                                                                17    corporation; and DOES 1 through 10,       )    CONTRIBUTORY COPYRIGHT
                                                                      inclusive,                                )    INFRINGEMENT
                                                                18
                                                                                                                )
                                                                                   Defendants.                  )
                                                                19
                                                                                                                )
                                                                                                                ) DEMAND FOR JURY TRIAL
                                                                20
                                                                                                                )
                                                                                                                )
                                                                21
                                                                                                                )
                                                                22

                                                                23
                                                                            Plaintiff LUKE Y. KIM (“Plaintiff”), by and through his undersigned

                                                                24
                                                                      attorneys, hereby prays to this honorable Court for relief as follows:

                                                                25

                                                                26

                                                                27

                                                                28


                                                                                                         COMPLAINT
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                                                                 1                              JURISDICTION AND VENUE
                                                                 2       1. This action arises under the Copyright Act of 1976, Title 17 U.S.C. § 101 et
                                                                 3    seq.
                                                                 4       2. This Court has federal question jurisdiction under 28 U.S.C. §§ 1331 and
                                                                 5    1338 (a) and (b).
                                                                 6       3. Venue in this judicial district is proper under 28 U.S.C. §§ 1391(c) and
                                                                 7    1400(a) in that this is the judicial district in which a substantial part of the acts and
                                                                 8    omissions giving rise to the claims occurred.
                                                                 9                                          PARTIES
                                                                10       4. Plaintiff is an individual who resides in the County of Los Angeles and the
                                                                11    State of California.
LAW OFFICES OF ALBERT CHANG




                                                                12       5. Plaintiff is informed and believes and thereon alleges that Defendant SHEIN
                              1225 W. 190th Street, Suite 420
                                Gardena, California 90248




                                                                13    DISTRIBUTION CORPORATION, a Delaware corporation (“SHEIN”), is, and at
                                     (310) 769-6836




                                                                14    all times herein mentioned was, a corporation organized and existing under the laws
                                                                15    of the State of Delaware, with its principal place of business located at 757 South
                                                                16    Alameda Street, Suite 220, Los Angeles, CA 90021, which is authorized to do
                                                                17    business, and is doing business in the State of California.
                                                                18       6. Defendants DOES 1 through 10, inclusive, are other parties not yet
                                                                19    identified who have infringed Plaintiff’s copyrights, have contributed to the
                                                                20    infringement of Plaintiff’s copyrights, or have engaged in one or more of the
                                                                21    wrongful practices alleged herein. The true names, whether corporate, individual or
                                                                22    otherwise, of Defendants DOES 1 through 10, inclusive, are presently unknown to
                                                                23    Plaintiff, which thus sues said Defendants by such fictitious names, and will seek
                                                                24    leave to amend this Complaint to show their true names and capacities when same
                                                                25    have been ascertained.
                                                                26       7. Plaintiff is informed and believes and thereon alleges that at all times
                                                                27    relevant hereto each of the Defendants was the agent, affiliate, officer, director,
                                                                28    manager, principal, alter-ego, and/or employee of the remaining Defendants and

                                                                                                          COMPLAINT
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                                                                 1    was at all times acting within the scope of such agency, affiliation, alter-ego
                                                                 2    relationship, and/or employment, and actively participated in or subsequently
                                                                 3    ratified and adopted, or both, each and all of the acts or conduct alleged, with full
                                                                 4    knowledge of all the facts and circumstances, including, but not limited to, full
                                                                 5    knowledge of each and every violation of Plaintiff’s rights and the damages to
                                                                 6    Plaintiff proximately caused thereby.
                                                                 7                     CLAIMS RELATED TO DESIGN PO18-M142
                                                                 8       8. Prior to the conduct complained of herein, Hae Jee composed an original
                                                                 9    two-dimensional artwork for purposes of textile printing, which is set forth
                                                                10    hereinbelow. Hae Jee allocated this artwork an internal design number PO18-M142
                                                                11    (hereinafter the “Subject Design”). This artwork was a creation of Hae Jee, and is,
LAW OFFICES OF ALBERT CHANG




                                                                12    and at all relevant times was, owned exclusively by Hae Jee.
                              1225 W. 190th Street, Suite 420
                                Gardena, California 90248




                                                                13       9. On or around March 10, 2018, Hae Jee assigned her copyright rights to the
                                     (310) 769-6836




                                                                14    Subject Design to Plaintiff. A true and correct copy of the Assignment of Rights is
                                                                15    attached hereto as Exhibit A.
                                                                16       10. On or around April 10, 2018, Plaintiff applied for and received a United
                                                                17    States Copyright Registration for the Subject Design. A true and correct copy of the
                                                                18    Certificate of Registration is attached hereto as Exhibit B.
                                                                19       11. Prior to the acts complained of herein, Plaintiff sampled and sold fabric
                                                                20    bearing the Subject Design to numerous parties in the fashion and apparel
                                                                21    industries.
                                                                22       12. Plaintiff is informed and believes and thereon alleges that SHEIN and
                                                                23    certain DOE defendants created, sold, manufactured, caused to be manufactured,
                                                                24    imported, and/or distributed fabric and/or garments comprised of fabric bearing an
                                                                25    unauthorized reproduction of the Subject Design (the “Subject Product”) to its
                                                                26    retailers as well as to the public.
                                                                27       13. A comparison of the Subject Design and the garments below makes apparent
                                                                28    that the elements, colors, composition, arrangement, layout, and appearance of the

                                                                                                            COMPLAINT
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                                                                 1    designs are substantially similar. The following garments, which Plaintiff had
                                                                 2    purchased from SHEIN, have the following SKU numbers:
                                                                 3       (1) sw2111172165813216 (the “Subject Product A”), sw2208091971641426
                                                                 4    (the “Subject Product B”), sw2204025875482267 (the “Subject Product C”),
                                                                 5    sw2209203251361646        (the “Subject Product D”), sw2210111626776624 (the
                                                                 6    “Subject Product E”), sw2210314999192339 (the “Subject Product F”),
                                                                 7    sw2211012273135775 (the “Subject Product G”), sw2211225775380229 (the
                                                                 8    “Subject Product H”). A comparison of the Subject Design and these garments is
                                                                 9    attached hereto as Exhibit C.
                                                                10       (2) sa2208240502009990 (the “Subject Product I”), sa2211285900285199 (the
                                                                11    “Subject Product J”), sk2206287770007821 (the “Subject Product K”),
LAW OFFICES OF ALBERT CHANG




                                                                12    sk2209058394790609 (the “Subject Product L”), sk2211233817391047 (the
                              1225 W. 190th Street, Suite 420
                                Gardena, California 90248




                                                                13    “Subject Product M”), sk2208024897722525 (the “Subject Product N”),
                                     (310) 769-6836




                                                                14    sw2210151107871812 (the “Subject Product O”),              sa2209298891670112 (the
                                                                15    “Subject Product P”), sa2212053870900362 (the “Subject Product Q”),
                                                                16    sk2207075553928090 (the “Subject Product R”), sk2211221022944078 (the
                                                                17    “Subject Product S”), sk2212022215295423 (the “Subject Product T”),
                                                                18    sa2207054042669666 (the “Subject Product U”),             sw2212198598580340 (the
                                                                19    “Subject Product V”), sa2211085695903594 (the “Subject Product W”),
                                                                20    sk2206100422811817 (the “Subject Product X”), sk2208129112199445 (the
                                                                21    “Subject Product Y”), sw2208256768071477 (the “Subject Product Z”),
                                                                22    sk2211260105373148 (the “Subject Product AA”), and sk2212076682010185 (the
                                                                23    “Subject Product BB”). A comparison of the Subject Design and these garments is
                                                                24    attached hereto as Exhibit D
                                                                25       14. Plaintiff is informed and believes and thereon alleges that Defendants, and
                                                                26    each of them, have committed copyright infringement with actual or constructive
                                                                27    knowledge of Plaintiff’s rights and/or in blatant disregard for Plaintiff’s rights, such
                                                                28    that said acts of copyright infringement were, and continue to be, willful,

                                                                                                          COMPLAINT
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                                                                 1    intentional, and malicious, subjecting Defendants, and each of them, to liability for
                                                                 2    statutory damages under the Copyright Act, 17 U.S.C. § 504(c)(2) in the sum of up
                                                                 3    to one hundred fifty thousand dollars ($150,000) per infringement.
                                                                 4                             FIRST CLAIM FOR RELIEF
                                                                 5                 (For Copyright Infringement – Against All Defendants)
                                                                 6       15. Plaintiff repeats, realleges, and incorporates herein by reference as though
                                                                 7    fully set forth, the allegations contained in the preceding paragraphs of this
                                                                 8    Complaint.
                                                                 9       16. Plaintiff is informed and believes and thereon alleges that Defendants, and
                                                                10    each of them, had access to the Subject Design, including, without limitation,
                                                                11    through (a) access to Plaintiff’s showroom and/or design library; (b) access to
LAW OFFICES OF ALBERT CHANG




                                                                12    illegally distributed copies of the Subject Design by third-party vendors and/or
                              1225 W. 190th Street, Suite 420
                                Gardena, California 90248




                                                                13    DOE defendants, including, without limitation, international and/or overseas
                                     (310) 769-6836




                                                                14    converters and printing mills; (c) access to Plaintiff’s strike-offs and samples,
                                                                15    and/or (d) garments manufactured and sold to the public bearing fabric lawfully
                                                                16    printed with the Subject Design by Plaintiff for its customers.
                                                                17       17. Plaintiff is informed and believes and thereon alleges that one or more of the
                                                                18    Defendants manufactures garments and/or is a garment vendor. Plaintiff is further
                                                                19    informed and believes and thereon alleges that said Defendant(s) has an ongoing
                                                                20    business relationship with Defendant retailers, and each of them, and supplied
                                                                21    garments to said retailer, which garments infringed the Subject Design in that said
                                                                22    garments were composed of fabric which featured unauthorized print design(s) that
                                                                23    were identical or substantially similar to the Subject Design, or were an illegal
                                                                24    derivation or modification thereof.
                                                                25       18. Plaintiff is informed and believes and thereon alleges that Defendants, and
                                                                26    each of them, infringed Plaintiff’s copyrights by creating, manufacturing, and/or
                                                                27    developing directly infringing and/or derivative works from the Subject Design and
                                                                28    by manufacturing, distributing, and/or selling garments which infringe the Subject

                                                                                                        COMPLAINT
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                                                                 1    Design through a nationwide network of retail stores, catalogues, and through on-
                                                                 2    line websites.
                                                                 3       19. Due to Defendants’ acts of copyright infringement as alleged herein,
                                                                 4    Plaintiff has suffered substantial damages to its business in an amount to be
                                                                 5    established at trial.
                                                                 6       20. Due to Defendants’ acts of copyright infringement as alleged herein,
                                                                 7    Plaintiff has suffered general and special damages to its business in an amount to
                                                                 8    be established at trial.
                                                                 9       21. Due to Defendants’ acts of copyright infringement as alleged herein,
                                                                10    Defendants, and each of them, have obtained direct and indirect profits they would
                                                                11    not otherwise have realized but for their infringement of the Subject Design. As
LAW OFFICES OF ALBERT CHANG




                                                                12    such, Plaintiff is entitled to disgorgement of Defendants’ profits directly and
                              1225 W. 190th Street, Suite 420
                                Gardena, California 90248




                                                                13    indirectly attributable to Defendants’ infringement of the Subject Design in an
                                     (310) 769-6836




                                                                14    amount to be established at trial.
                                                                15       22. Plaintiff is informed and believes and thereon alleges that Defendants, and
                                                                16    each of them, have committed copyright infringement as alleged herein, which were
                                                                17    willful, intentional, and malicious, which further subjects Defendants, and each of
                                                                18    them, to liability for statutory damages under the Copyright Act, 17 U.S.C. §
                                                                19    504(c)(2) in the sum of up to one hundred fifty thousand dollars ($150,000) per
                                                                20    infringement. Within the time permitted by law, Plaintiff will make its election
                                                                21    between actual damages and statutory damages.
                                                                22                               SECOND CLAIM FOR RELIEF
                                                                23                 (For Vicarious and/or Contributory Copyright Infringement
                                                                24                                 – Against All Defendants)
                                                                25       23. Plaintiff repeats, realleges, and incorporates herein by reference as though
                                                                26    fully set forth, the allegations contained in the preceding paragraphs of this
                                                                27    Complaint.
                                                                28


                                                                                                           COMPLAINT
                                                                                                              -6-
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                                                                 1        24. Plaintiff is informed and believes and thereon alleges that Defendants
                                                                 2    knowingly induced, participated in, aided and abetted in, and profited from the
                                                                 3    illegal reproduction and/or subsequent sales of garments featuring the Subject
                                                                 4    Design as alleged herein.
                                                                 5        25. Plaintiff is informed and believes and thereon alleges that Defendants, and
                                                                 6    each of them, are vicariously liable for the infringement alleged herein because they
                                                                 7    had the right and ability to supervise the infringing conduct and because they had a
                                                                 8    direct financial interest in the infringing conduct.
                                                                 9        26. By reason of the Defendants’ and each of their acts of contributory and
                                                                10    vicarious infringement as alleged above, Plaintiff has suffered and will continue to
                                                                11    suffer substantial damages to its business in an amount to be established at trial, as
LAW OFFICES OF ALBERT CHANG




                                                                12    well as additional general and special damages in an amount to be established at
                              1225 W. 190th Street, Suite 420
                                Gardena, California 90248




                                                                13    trial.
                                     (310) 769-6836




                                                                14        27. Due to Defendants’ and each of their acts of copyright infringement as
                                                                15    alleged herein, Defendants, and each of them, have obtained direct and indirect
                                                                16    profits they would not otherwise have realized but for their infringement of the
                                                                17    Subject Design. As such, Plaintiff is entitled to disgorgement of Defendants’ profits
                                                                18    directly and indirectly attributable to Defendants’ infringement of the Subject
                                                                19    Design in an amount to be established at trial.
                                                                20        28. Plaintiff is informed and believes and thereon alleges that Defendants, and
                                                                21    each of them, have committed acts of copyright infringement as alleged herein,
                                                                22    which were willful, intentional, and malicious, which further subjects Defendants,
                                                                23    and each of them, to liability for statutory damages under the Copyright Act, 17
                                                                24    U.S.C. § 504(c)(2) in the sum of up to one hundred fifty thousand dollars ($150,000)
                                                                25    per infringement. Within the time permitted by law, Plaintiff will make its election
                                                                26    between actual damages and statutory damages.
                                                                27

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                                                                                                          COMPLAINT
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                                                                 1                                PRAYER FOR RELIEF
                                                                 2           Wherefore, Plaintiff prays for judgment against all Defendants as follows:
                                                                 3       1. That Defendants, and each of them, and their respective agents and
                                                                 4    employees be enjoined from infringing Plaintiff’s copyrights in any manner,
                                                                 5    specifically those for the Subject Design;
                                                                 6       2. That Defendants, and each of them, account to Plaintiff for their profits and
                                                                 7    any damages sustained by Plaintiff arising from the foregoing acts of infringement,
                                                                 8    the exact sum to be proven at the time of trial under the Copyright Act, 17 U.S.C. §
                                                                 9    504(b), or, if elected before final judgment, statutory damages as available under
                                                                10    the Copyright Act, 17 U.S.C. § 504(c) et seq.;
                                                                11       3. That Plaintiff be awarded its attorneys’ fees as available under the
LAW OFFICES OF ALBERT CHANG




                                                                12    Copyright Act, 17 U.S.C. §101 et seq.;
                              1225 W. 190th Street, Suite 420
                                Gardena, California 90248




                                                                13       4. That Plaintiff be awarded pre-judgment interest as allowed by law;
                                     (310) 769-6836




                                                                14       5. That Plaintiff be awarded the costs of this action; and
                                                                15       6. That Plaintiff be awarded such further legal and equitable relief as the Court
                                                                16    deems proper.
                                                                17          A TRIAL BY JURY PURSUANT TO FED. R. CIV. P. 38 AND
                                                                18    CONSTITUTIONAL AMENDMENT SEVEN IS HEREBY DEMANDED.
                                                                19

                                                                20    Date: September 20, 2023               LAW OFFICES OF ALBERT CHANG
                                                                21
                                                                                                      By:    /s/ Hyunsuk Albert Chang
                                                                22                                           Hyunsuk Albert Chang
                                                                23                                           Hector Hsu
                                                                                                             Attorneys for Plaintiff
                                                                24
                                                                                                             LUKE Y. KIM
                                                                25

                                                                26

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                                                                                                        COMPLAINT
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             EXHIBIT A
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              EXHIBIT B
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              EXHIBIT C
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         Subject Design                       Subject Product A
             Detail                                Detail




            Design                                Garment
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         Subject Design                       Subject Product B
             Detail                                Detail




            Design                                Garment
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         Subject Design                       Subject Product C
             Design                               Garment




           Design                                 Garment
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         Subject Design                       Subject Product D
             Detail                                Detail




            Design                                Garment
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         Subject Design                       Subject Product E
             Detail                                Detail




            Design                                Garment
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         Subject Design                       Subject Product F
             Detail                                Detail




            Design                                Garment
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         Subject Design                       Subject Product G
             Detail                                Detail




            Design                                Garment
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        Subject Design                       Subject Product H
            Detail                                 Detail




            Design                               Garment
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              EXHIBIT D
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         Subject Design                       Subject Product I
             Detail                                Detail




            Design                                Garment
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         Subject Design                       Subject Product J
             Detail                                Detail




            Design                                Garment
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         Subject Design                       Subject Product K
             Detail                                Detail




            Design                                Garment
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         Subject Design                       Subject Product L
             Detail                                Detail




            Design                                Garment
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         Subject Design                      Subject Product M
             Detail                                Detail




            Design                                Garment
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         Subject Design                       Subject Product N
             Detail                                Detail




            Design                                Garment
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         Subject Design                       Subject Product O
             Detail                                Detail




            Design                                Garment
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         Subject Design                       Subject Product P
             Detail                                Detail




            Design                                Garment
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         Subject Design                       Subject Product Q
             Detail                                Detail




            Design                                Garment
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         Subject Design                       Subject Product R
             Detail                                Detail




            Design                                Garment
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         Subject Design                       Subject Product S
             Detail                                Detail




            Design                                Garment
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         Subject Design                       Subject Product T
             Detail                                Detail




            Design                                Garment
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         Subject Design                       Subject Product U
             Detail                                Detail




            Design                                Garment
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         Subject Design                       Subject Product V
             Detail                                Detail




            Design                                Garment
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         Subject Design                      Subject Product W
             Detail                                Detail




            Design                                Garment
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         Subject Design                       Subject Product X
             Detail                                Detail




            Design                                Garment
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         Subject Design                       Subject Product Y
             Detail                                Detail




            Design                                Garment
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         Subject Design                      Subject Product Z
             Detail                                Detail




                                                  Garment
            Design
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         Subject Design                      Subject Product AA
             Detail                                Detail




                                                  Garment
            Design
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         Subject Design                      Subject Product BB
             Detail                                Detail




                                                  Garment
            Design
